CHRISTOPHER WEHRLE ~ JANUARY 10

, 2013

 

 

IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF COLORADO

Case No. li-cv-01611-M8K-CBS

WESTERN CONVENIENCE STORBS, INC., a Colorado
corporation, WESTERN TRUCK ONE, LLC, a Colorado
limited liability company,

Plaintiffs,

Ve.

SUNCOR ENERGY (U.8.A.) INC., a Delaware corporation,
Defendant. ,

ve.

HOSSEIN AND DRBRA LYNN TARAGHI,

Third-Party Defendants.

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DEPOSITION OF CHRISTOPHER WEHRLE
January 10, 2013
CONTAINS HIGHLY CONFIDENTIAL TESTIMONY

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Deposition location:
555-17th Street, Suite 3200
Denver, Colorado

APPEARANCES:
XBNNETH R. BENNINGTON, ESQ.
BENNINGTON JOHNSON BIERMANN &
CRAIGMILE, LLC
270-17th Street, Suite 3500
Denver, Colorado 80202

and

EXHIBIT BB

Page 1

 
 
   
  
 

 

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CHRISTOPHER WEHRLE

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(Westra Petroleum Pricing nfo

Page 2 Page 4
1 PHILIP W. BLEDSOE, ESQ. 1 CHRISTOPHER WEHRLE,
» Tee SAUGHART, PC. 2 being first duly sworn to state the truth, the whole
sike 600 P 3 truth and nothing but the truth, testified on oath as
3 Denver, Colorado 80202 4 follows, Mr, Bledsoe not being present:
4 For the Pleintiffs. 5 EXAMINATION
5 ANTHONY J. SHAHEEN, ESQ. 6 Q. (BY MR, SHAHEEN) Good morning,
5 texint ss & HART, LLP 7 Mr. Wehrle. I'm Tony Shaheen. I represent Suncor,
ee 5 O word you state your full name for the
7 Denver, Colorado 80202 .
8 For the Defendant. 10 record, please?
9 ALSO PRESENT: MICHAEL KORENBLAT, ESQ, 11 A. Christopher Lee Wehrle.
1 STEVEN EWING 12 Q, It's my understanding from your
. 7 13 testimony at the prelitninary injunction hearing that
11 The deposition of CHRISTOPHER WEHRLE,
12. called for examination by the Defendant, was taken in 14 you're the fuel manager for Western Convenience
13. the offices of HOLLAND & HART, LLP, 555-1 7th Street, 15 Stores,
14 Suite 3200, Denver, Colorado, commencing at 9:37 a.m. 16 A. Yes,
15 on January 10, 2013, before Patricia M. Wrede of 17 0. I
16 Avery/Woods Reporting Service, Inc., 455 Sherman 18 qe er? ong have you been the fuel
17, Street, Sulle 250, Denver, Colorado 81203, 19 A. tostoverthres yeu
18 Registered Professional Reporter and a Notary Public . ae
19 in and for the State of Colorado, pursuant to the 20 Q. And starting in when?
20 Federal Rules of Civil Procedure. 21 A. It was 9-9-09, September 9th, 2009,
21 SRNR eEKSH Tey 22 That's an easy one to remember.
22 23 Q. Itis,
24 (Whereupon, Mr. Bledsoe entered the
25 25 room and there was discussion outside the record.)
Page 3 Page 5 f
3 TNDEKOREXAMINATION. 1 Q. Mr. Wehrle, as your lawyer, Ken
3 EXAMINATION BY MR, SHAHEEN 4 2 Bennington, has told all of the Suncor witnesses, it
4 ‘
5 INDEX OF EXHIBITS 3 doesn't do us any good if we don't understand each
§ EXHIBIT NO. nes0 AGH. 4 other, and I really don't do what you do, I mean, I
a en sI 2 5 don't buy fuel, I'm not really in this industry, so
» peta pO) i 6 ifT ask you a question that's confusing or you don't
romber 2009 E-Mail 7 understand, please stop me and let's clarify.
+0 amar 2009 B-Mal ” 8 A. Okay,
a1 Exhibit No. 139 40 9 Q. And then just one definition I want to
12 Denaaiton Beka Ne lao a Se 10 use because this is confusing. When I talk about
1s De ee) 11 just a discount, what I mean is the contract price,
4 Deine 12 that is, you know, typically in your case the Western |
(4-21-11 E-Mail Hagen m Webi) is 13 Convenience contracts were rack minus something.
(7 "1 Bala Tg 14 That minus something is what I mean by discount.
ne et pak Shot 72011 gh €1-11) 15 When I'm talking about an off contract discount,
27 Depeation — i a 16 something special in addition, I will say off
as Deeon Bait No iis 35 17 contract discount. Is that okay with you?
29° Deposition Buhiblt No, 147 7 18 A. Yes.
7 ma aaa ” ras Q on way -- because there's a lot of
; nF confusion.
: Gia Hilly Proalecte 21 Did I understand correctly at the
Deposition Exhibit No. 150 95 22 pfeliminary injunction hearing that your job as fuel
5 creatine EAE Nt ig 23 manager is to get the-best price you can Yor the gas
a6 De Rodte Plea iat), 9% 24 that you buy for Western Convenience?

 

  
    
  
   
 
 
   
  
  
 
   
   
    
   
  
    
   
   
 
 

A. Part of it, It's for supply, yo

2 (Pages 2 to 5)
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1 depends on the pricing. 1 Q. (BY MR. SHAHEEN) It says price for
“2 Q. Is there a strategy or is there — when 2 natural gas 4-7-10, 1.95.76.
3 did Western Convenience do the blending? 3 Is that your handwriting?
4 A. Idon't know specific dates, Sometimes 4 A. Yes,
5 you have to blend, like if refineries now only make 5 Q. What are you trying to figure out here
6 an 82-something octane, that’s what unleaded fuel is, | 6 as reflected on Bxhibit 146?
7 and if you don't put ethanol it's not up to spec. 7 A. Idon't remember what this would be.
8 Ethanol brings it up to an octane to sell it ata 8 Q. But it's your testimony anyway that
3 retail level. 9 during the time you've been at Western Convenience,
10 Q. Well, did Western Convenience blend, 10 Western Convenience hasn't blended using natural gas.
11. for example, when the price for — I'll call it for 11 A. No, we Haven't,
12 the gasoline -- for gasoline was high and that by 12 Q. Atleast it appears from Exhibit 146
13 blending it, it would get them a better price? 13 that.at least you were considering what the price
14 A. Sometimes. If ethanol is cheaper than 24 difference would be if you blended with natural gas.
15 gas, then if you blend 10 percent you can make ita {15 Is that a fair conclusion?
16 better price. 16 A, Idont remember.
17 Q. Atanytime — 17 Q. Well, why would you be writing down
18 A. Right now for example, you don't -— if 18 price for natural gas if'you weren't thinking about
19 you had clear gasoline that was 85 octane, you 19 whether or not you should blend with natural gas?
20 wouldnt blend ethanol in it because it's 30 cents 20 A, Idon't know, I don't remember.
|421 more than gasoline; just sell clear gas. 21 Q. Do you know the last time that Western
22 Q. There's a pretty good margin right now 22 Convenience bought natural gas?
23 on gasoline. 23 A. Notsince I've been there.
24 A, It's never good enough. 24 Q, Am correct, Mr. Wehrle, that in
25 Q. Bout it's better than the summer months, 25 terms — that — well, let me back up.
Page 75 Page 77
1 A. Yeah, it's better than sometimes. 1 Tremember unmistakably at the
2 Q. Atany point since you've been fuel 2 preliminary injunction hearing at least three times
3 manager, did Western Convenience blend gasoline and} 3 you said you had no part of the retail side of the
4 natural gas? 4 business, Is that still correct?
5 A. No. 5 A. That's still correct.
6 MR. SHAHEEN: We're going to have to 6 Q. And so if were to ask you about how
7 get Steve back in. 7 thé prices were set at the gas stations, you wouldn't
8 (Whereupon, Mr. Ewing reentered the 8 Imow about that,
9 room.) 9 A, No.
10 (Whereupon, Deposition Exhibit 146 was 10 Q. And ifi asked you about price surveys
11 marked for identification by the reporter.) 11 that were done, you wouldn't know about that either,
12 Q. Ive handed you what's been marked as 12 A. No.
13 Exhibit 146, 13 Q. It would be Mr, Taraghi I should be
14 A. M-hm. 14 asking?
15 Q. Itsan e-mail from the OPIS 15 A. Yes,
16 administrator to you, correct? 16 (Whereupon, Deposition Exhibit 147 was
17 A. M-hm, 17 marked for identification by the reporter.)
18 Q. April 7, 2010, 18 Q. Ive handed you what's been marked as
19 Is the hantiwriting on this yours? 19 Exhibit 147. Can you tell nie what this is?
20 A, M-hm. 20 MR. BENNINGTON: Objection. I don't
21 Q. So- 21 know how you got this. First I'd like you toaskhim
22 MR. BENNINGTON: Say yes or no. 22 who it was prepared by and for whom it was prepared. |}
23 A. I'msorry. Yes, 23 My belief is this is privileged and it was
24 MR. BENNINGTON: The answer is yes? 24 inadvertently produced. If that is the case, of
25 JHE DEPONENT: Yes. mn 25 course, that will

 
    
 
 
    
  
  
  
  
   
 
   
   
 

   

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